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  Exhibit B-II
  Exoo-D’Ambly Tweets

  Incorporated by reference in FASC at ¶¶ 1, 44, 45, 48, 49, 51, 53, 58, 59, 61, 72,
  158, 162-165, 188, 215




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  https://twitter.com/AntiFashGordon/status/1099050519346233344 [Transcribed from D’Ambly audio
  interview: Ultimately the employer capitulated to communist terrorists who were financed by Jewish
  money and they fired me from my job.]




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